8:06-cr-00116-RFR-MDN      Doc # 409     Filed: 06/05/07    Page 1 of 1 - Page ID # 1663




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )              Case No. 8:06CR-116
                   Plaintiff,               )
                                            )
      vs.                                   )
                                            )                    ORDER
GEORGE MOORE,                               )
                                            )
                   Defendant.               )


      This case is before the court on defendant Lavelle Giles' Response to Motion to
Compel (#408), requesting an extension of time to respond to defendant George Moore's
Motion to Compel (#407). The court finds the extension should be granted:
      IT IS ORDERED:
      1.     The motion for extension (#408) filed by defendant Lavelle Giles is granted.
      2.     The response by defendant Lavelle Giles to the Motion to Compel (#407)
             shall be filed on or before June 11, 2007.
      Dated: June 5, 2007.

                                        BY THE COURT:


                                        S/ F. A. Gossett
                                        United States Magistrate Judge
